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 1   ALAN KOSSOFF (SBN 150932)               RACHELE R. RICKERT (190634)
     KINSELLA WEITZMAN ISER                  rickert@whafh.com
 2   KUMP & ALDISERT LLP                     MARISA C. LIVESAY (223247)
     akossoff@kwiklaw.com                    livesay@whafh.com
 3   808 Wilshire Boulevard, 3rd Floor       BRITTANY N. DEJONG (258766)
     Santa Monica, California 90401          dejong@whafh.com
 4   Telephone: 310.566.9800                 WOLF HALDENSTEIN ADLER
     Facsimile: 310.566.9850                 FREEMAN & HERZ LLP
 5                                           750 B Street, Suite 2770
 6   MICHAEL C. HEFTER                       San Diego, CA 92101
     RYAN M. PHILP                           Telephone: 619/239-4599
 7   DAVID A. SHARGEL                        Facsimile: 619/234-4599
     BRACEWELL LLP
 8   1251 Avenue of the Americas       DANIEL W. KRASNER (pro hac vice)
     New York, New York 10020          krasner@whafh.com
 9   Telephone: 212.508.6100           WOLF HALDENSTEIN ADLER
     Facsimile: 212.508.6101           FREEMAN & HERZ LLP
10   (admitted pro hac vice)           270 Madison Avenue
     Attorneys for Plaintiffs CAMOFI   New York, NY 10016
11   Master LDC and CAMHZN Master LDC  Telephone: 212/545-4600
                                       Facsimile: 212/545-4653
12                                     Attorneys for Plaintiff Frederick Rich
13                   UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
14                             SOUTHERN DIVISION
15   DAVID L. DEFREES, et al.,         Lead Case No. CV11 04272 JLS (SPx)
16                     Plaintiffs,          STATUS REPORT PURSUANT TO
           v.                               ORDER DATED APRIL 19, 2017
17
     JOHN C. KIRKLAND, et al.,              Date: None Set
18                                          Time: None Set
                       Defendants,          Place: Courtroom 10A, 10th Floor
19         and                              Judge: Hon. Josephine Staton
20   U.S. AEROSPACE, INC.,                  Trial Date:
21                     Nominal Defendant.
22   CAMOFI MASTER LDC, et al.,
23                     Plaintiff,           Consolidated With
24                                          Case No. CV 11-04574 JLS (SPx)
           v.
25
     JERROLD PRESSMAN, et al.,
26
                       Defendants,
27
           and
28
     U.S. AEROSPACE, INC.
                       Nominal Defendant.
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 1         Pursuant to the Order Discharging Order to Show Cause dated April 19, 2017,
 2 Dkt. No. 549, the parties respectfully submit this status report informing the Court of
 3 the status of the settlement agreement.
 4         As set forth in the parties’ status report filed on April 18, 2017 in response to
 5 the Order to Show Cause issued by the Court on April 13, 2017, Plaintiffs in the Rich
 6 Action and Plaintiffs in the CAMOFI Action have been in the process of resolving
 7 certain issues regarding the mechanics of a settlement and distribution of settlement
 8 proceeds as well as complex matters related to the corporate governance and capital
 9 structure of nominal defendant USAE. Since the filing of the April 18 status report,
10 Plaintiffs have resolved many of the issues and have memorialized the terms of a
11 settlement agreement-in-principle in a draft stipulation of settlement. After significant
12 discussions, Plaintiffs provided a comprehensive draft settlement agreement to
13 defense counsel earlier today. Plaintiffs expect that defendants, the insurers and their
14 counsel will require additional time to review and comment on the draft stipulation of
15 settlement. In the meantime, Plaintiffs will complete the preparation of all necessary
16 papers to be presented to the Court for review and approval pursuant to Federal Rule
17 of Civil Procedure 23.1.
18         Accordingly, the parties respectfully request an additional thirty days to submit
19 all necessary pleadings and papers to the Court for review and approval pursuant to
20 Federal Rule of Civil Procedure 23.1. The parties appreciate the Court’s attention to
21 this matter.
22 DATED: May 19, 2017                       Respectfully submitted,
23
                                     By:        /s/ Rachele R. Rickert
24                                             RACHELE R. RICKERT
25                                         750 B Street, Suite 2770
26                                         San Diego, CA 92101
                                           Telephone: 619/239-4599
27                                         Facsimile: 619/234-4599
                                           rickert@whafh.com
28                                         livesay@whafh.com
                                           dejong@whafh.com

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                                        DANIEL W. KRASNER
 1                                      WOLF HALDENSTEIN ADLER
                                         FREEMAN & HERZ LLP
 2                                      270 Madison Avenue
 3                                      New York, NY 10016
                                        Telephone: 212/545-4600
 4                                      Facsimile: 212/545-4653
                                        krasner@whafh.com
 5                                      Attorneys for Plaintiff Frederick Rich
 6
 7
     DATED: May 19, 2017                BRACEWELL LLP
 8                                      MICHAEL C. HEFTER
                                        RYAN M. PHILP
 9                                      DAVID A. SHARGEL
10                                By:         /s/ Michael C. Hefter
                                             MICHAEL C. HEFTER
11
                                        1251 Avenue of the Americas
12                                      New York, New York 10020
                                        Telephone: 212.508.6100
13                                      Facsimile: 212.508.6101
                                        Michael.Hefter@bracewell.com
14                                      Ryan.Philp@bracewell.com
15                                      David.Shargel@bracewell.com

16                                      Attorneys for Plaintiffs CAMOFI Master LDC
                                        and CAMHZN Master LDC
17
                                        WOLF HALDENSTEIN ADLER
18                                      FREEMAN & HERZ LLP
                                        RACHELE R. RICKERT
19                                      MARISA C. LIVESAY
                                        BRITTANY N. DEJONG
20
21
                                        CONNOLLY & FINKEL, LLP
22                                      ALAN H. FINKEL
                                        JOHN G. CONNOLLY
23
     DATED: May 19, 2017          By:         /s/ Alan H. Finkel
24                                           ALAN H. FINKEL
25                                      777 S. Figueroa Street, Suite 4000
26                                      Los Angeles, CA 90017
                                        Telephone: (213) 452-6500
27                                      Facsimile: (213) 622-2171
28                                      Attorneys for Defendants James D. Henderson
                                        and Michael L. Goldberg

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 1                                        LOEB & LOEB LLP
                                          ROBERT A. MEYER
 2                                        W. ALLAN EDMISTON
                                          MATTHEW R. KUGIZAKI
 3
     DATED: May 19, 2017            By:        /s/ Robert A. Meyer
 4                                            ROBERT A. MEYER
 5                                        10100 Santa Monica Blvd, Suite 2200
                                          Los Angeles, CA 90067
 6                                        Telephone: 310.282.2000
 7                                        Facsimile: 310.282.2200
                                          rmeyer@loeb.com
 8                                        aedmiston@loeb.com
                                          mkugizaki@loeb.com
 9
                                          Attorneys for Defendant Dentons US LLP
10
11
                     DECLARATION CONCERNING CONCURRENCE
12
     I, Rachele R. Rickert, am the CM/ECF User whose identification and password are
13
     being used to file STATUS REPORT PURSUANT TO ORDER DATED APRIL 19,
14
     2017. In compliance with L.R. 5-4.1.4(2)(i), I hereby attest that Michael C. Hefter,
15
     Robert A. Meyer and Alan Finkel have concurred in this filing’s content and have
16
     authorized its filing.
17
18 DATED: May 19, 2017                       /s/ Rachele R. Rickert
                                            RACHELE R. RICKERT
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     USAE:23912
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